 Case
Case   1:19-cv-00487-JMS-KJM Document
     2:14-cv-06033-ODW-AGR   Document 68
                                      55-6Filed
                                             Filed 07/22/20Page
                                                03/24/16     Page  14
                                                                1 of of 4Page
                                                                            PageID  #:
                                                                              ID #:1033
                                      475



  1                                                                     JS-6
  2
  3
  4
  5
  6
  7
  8
                          United States District Court
  9
                          Central District of California
 10
 11
      LIONS GATE FILMS INC.,                        Case No. 2:14-CV-06033-ODW-AGR
 12
                         Plaintiff,
 13
            v.                                      JUDGMENT AGAINST
 14
                                                    DEFENDANTS JAVED ASHRAF,
 15
      AHMED SALEH; AMIEL ELBAR,                     TOM MESSCHENDORP, AND
 16
      MUHAMMAD JAVED ASHRAF; TOM                    LUCAS LIM
 17
      MESSCHENDORP; JEROME GILLAN;
 18
      LUCAS LIM; and DOES 1-14, inclusive,
 19
                         Defendants.
 20
 21         On December 9, 2015, Plaintiff Lions Gate Films, Inc. (“Lions Gate”) filed this
 22   action, alleging direct, contributory, and vicarious federal copyright infringement in
 23   violation of 17 U.S.C. § 501. (ECF No. 1.) On December 9, 2014, Lions Gate filed a
 24   First Amended Complaint identifying Javed Ashraf, Tom Messchendorp, and Lucas
 25   Lim as defendants. (ECF No. 45.) On November 30, 2015, the Clerk of Court
 26   entered a default as to Defendants Ashraf, Messchendorp, and Lim. (ECF No. 60.)
 27   On March 21, 2015, this Court granted Lions Gate’s Motion for Entry of Default
 28   Judgment against Defendants Ashraf, Messchendorp, and Lim. (ECF No. 67.)



                                      Exhibit "5"
 Case
Case   1:19-cv-00487-JMS-KJM Document
     2:14-cv-06033-ODW-AGR   Document 68
                                      55-6Filed
                                             Filed 07/22/20Page
                                                03/24/16     Page  24
                                                                2 of of 4Page
                                                                            PageID  #:
                                                                              ID #:1034
                                      476



  1            In accordance with the Court’s Order Granting Lions Gate’s Motion for Default
  2   Judgment (ECF No. 67), it is hereby ORDERED, ADJUDGED, and DECREED as
  3   follows:
  4            1.    Defendants Ashraf, Messchendorp, and Lim are each liable for each of
  5   the causes of action asserted against them in Lions Gate’s First Amended Complaint;
  6            2.    Lions Gate shall recover from Defendant Ashraf the sum of One Hundred
  7   and Fifty Thousand Dollars ($150,000);
  8            3.    Lions Gate shall recover from Defendant Messchendorp the sum of One
  9   Hundred and Fifty Thousand Dollars ($150,000);
 10            4.    Lions Gate shall recover from Defendant Lim the sum of One Hundred
 11   and Fifty Thousand Dollars ($150,000);
 12            5.    Lions Gate shall recover from Defendants Ashraf, Messchendorp, and
 13   Lim jointly and severally the amount of Twelve Thousand Six Hundred Dollars
 14   ($12,600);
 15            6.    Lions Gate shall recover from Defendants Ashraf, Messchendorp, and
 16   Lim jointly and severally its reasonable recoverable costs to be evidenced by a bill of
 17   costs;
 18            7.    Any and all award of damages, fees, and costs against Defendants
 19   Ashraf, Messchendorp, and Lim shall accrue post-judgment interest pursuant to 28
 20   U.S.C. § 1961;
 21            8.    Defendants Ashraf, Messchendorp, and Lim, and each of them, including
 22   without limitation their agents, servants, employees, officers, attorneys, successors,
 23   licensees, partners, and assigns and all those acting in active concert or participation
 24   with any of them, are permanently enjoined from:
 25                  a.    Hosting, linking to, distributing, reproducing, performing, selling,
 26                        offering for sale, making available for download, streaming or
 27                        making any other use of any copy or copies of the digital file of the
 28                        motion picture “The Expendables 3” that was stolen and uploaded




                                                   2
 Case
Case   1:19-cv-00487-JMS-KJM Document
     2:14-cv-06033-ODW-AGR   Document 68
                                      55-6Filed
                                             Filed 07/22/20Page
                                                03/24/16     Page  34
                                                                3 of of 4Page
                                                                            PageID  #:
                                                                              ID #:1035
                                      477



  1                      to the Internet without Lions Gate’s authorization or consent (the
  2                      “Stolen Film”) or any portion thereof in any form;
  3                b.    Taking any action that induces, causes or materially contributes to
  4                      the direct infringement of Lions Gate’s rights in the Stolen Film by
  5                      any third party, including without limitation hosting, linking to or
  6                      otherwise providing access to any torrent files, trackers, links
  7                      (including without limitation magnet links), hash values or other
  8                      instruction sets of any kind that enable users to locate or access any
  9                      “swarm” or other location where any copy or copies of the Stolen
 10                      Film or any portion thereof are being distributed, reproduced,
 11                      performed or otherwise exploited in any form; and
 12                c.    Operating any of the websites identified in this Judgment, or any
 13                      other website on which Lions Gate’s rights in the Stolen Film are
 14                      infringed.
 15         6.     Defendants Ashraf, Messchendorp, and Lim, and each of them, including
 16   without limitation their agents, servants, employees, officers, attorneys, successors,
 17   licensees, partners, and assigns and all those acting in active concert or participation
 18   with any of them shall deliver to Lions Gate, at Defendants Ashraf, Messchendorp,
 19   and Lim’s own cost:
 20                a.    All hard copy and electronic copies of the Stolen Film and any
 21                      images from or other portions of the Stolen Film, as well as any
 22                      other images or films owned by Lions Gate, or any portions or
 23                      modifications thereof, within the possession, custody or control of
 24                      Defendants and any of them, pursuant to an appropriate protocol
 25                      for identifying and retrieving all infringing electronically stored
 26                      information within the possession, custody or control of
 27                      Defendants Ashraf, Messchendorp, and Lim, and each of them;
 28                      and




                                                 3
 Case
Case   1:19-cv-00487-JMS-KJM Document
     2:14-cv-06033-ODW-AGR   Document 68
                                      55-6Filed
                                             Filed 07/22/20Page
                                                03/24/16     Page  44
                                                                4 of of 4Page
                                                                            PageID  #:
                                                                              ID #:1036
                                      478



  1                b.    Verifications executed under penalty of perjury confirming that
  2                      Defendants and each of them have complied with the requirements
  3                      of subparagraphs 14(a) through 15(a) above and that no copies of
  4                      the Stolen Film or any portions thereof remain within their
  5                      possession, custody or control.
  6         7.     Defendants Ashraf, Messchendorp, and Lim, and each of them, including
  7   without limitation their agents, servants, employees, officers, attorneys, successors,
  8   licensees, partners, and assigns and all those acting in active concert or participation
  9   with any of them, are permanently enjoined from effecting assignments or transfers,
 10   forming new entities or associations or utilizing any other device for the purpose of
 11   circumventing or otherwise avoiding the prohibitions set forth herein;
 12         8.     This Court retains jurisdiction over this matter for the purposes of
 13   making any further orders necessary or proper for the enforcement of this Judgment
 14   and the punishment of any violations thereof.
 15
 16         IT IS SO ORDERED.
 17
 18         March 24, 2016
 19
 20                                ____________________________________
 21                                         OTIS D. WRIGHT, II
                                    UNITED STATES DISTRICT JUDGE
 22
 23
 24
 25
 26
 27
 28




                                                 4
